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                        UNITED STATES BANKRUPTCY COURT
                           MIDDLE DISTRICT OF FLORIDA


                                          PRO MEMO

                                                                07/25/2019 09:30 AM
                                                                COURTROOM Room 4-102
HONORABLE CARYL DELANO
CASE NUMBER:                                                    FILING DATE:
9:19-bk-05580-FMD                        7                        06/12/2019
Chapter 7
DEBTOR:                Louis Maier


DEBTOR ATTY:           David Fineman
TRUSTEE:               Robert Tardif
HEARING:
Motion for Relief from Stay re: Litigation pending in New York against Non-Debtors EastCoast Electric LLC, Renee Maisto and
                        Louis A. Maier II. Contains negative notice. Filed by James S. Myers on behalf of Creditor QBE Insurance
                        Corporation (related document(s)[1]). (Myers, James) Doc #10 (Fee not paid)
- Response to and Limited Objection to Motion for Relief from Automatic Stay Filed by QBE Insurance Corp. Filed by Trustee
                        Robert E Tardif Jr. (related document(s)[10]). (Tardif, Robert) Doc #22

APPEARANCES:: David Lampley, Matthew Davis, Stephanie Johnson

WITNESSES:

EVIDENCE:

RULING:
Motion for Relief from Stay re: Litigation pending in New York against Non-Debtors EastCoast Electric LLC, Renee Maisto and
Louis A. Maier II. Contains negative notice. Filed by James S. Myers on behalf of Creditor QBE Insurance Corporation (related
document(s)[1]). (Myers, James) Doc #10 (Fee not paid) - Granted in part as to non-debtors O/Johnson

- Response to and Limited Objection to Motion for Relief from Automatic Stay Filed by QBE Insurance Corp. Filed by Trustee
Robert E Tardif Jr. (related document(s)[10]). (Tardif, Robert) Doc #22
Proposed Orders, if applicable, should be submitted within three days after the date of the hearing - Local Rule 9072-1(c). Orders
not submitted by the time of closing will result in motions/objections/applications being denied as moot. This docket
entry/document is not an official order of the Court.




                                  Case Number 9:19-bk-05580-FMD                       Chapter 7
